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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                               ALEXANDRIA DIVISION

ROWANOAK DEVELOPMENT, LLC                             CIVIL ACTION NO._________________

VERSUS                                                JUDGE

CITY OF NATCHITOCHES, LOUISIANA                       MAGISTRIATE JUDGE

                                         COMPLAINT

       The Complaint of ROWANOAK DEVELOPMENT, LLC (“Rowanoak Development”),

respectfully represents:

                            PARTIES, JURISDICTION & VENUE

       1.      Made Defendant herein is the City of Natchitoches, Louisiana, a political

subdivision of the State of Louisiana (the “City”).

       2.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C

1331 because this action arises under the Constitution and laws of the United States.

       3.      This Court has general personal jurisdiction over the City because it is domiciled

in this District. This Court also has specific personal jurisdiction over the City because and this

action arises from the City’s acts and omissions that occurred and caused harm to Rowanoak

Development in this District.

       4.      Venue is proper in this Division of this District pursuant to 28 U.S.C. § 1391(b)(2)

because a substantial part of the events giving rise to the claims asserted herein occurred in

Natchitoches Parish, Louisiana, which is located in the Western District of Louisiana, Alexandria

Division.




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                                  FACTUAL ALLEGATIONS

       5.      Rowanoak Development is the developer of a proposed single-family residential

housing subdivision known as Glendale Subdivision (the “Glendale Development”), to be

constructed on approximately 12 acres of undeveloped land located on St. Maurice Road near

School Road in Natchitoches, Natchitoches Parish, Louisiana (the “Property”).

       6.      The subject Property is zoned “R-1” for “Residence Districts-One Family,” and,

thus, its use as a residential subdivision is a use by right under the City’s zoning ordinances.

       7.      Rowanoak Development’s plan for Glendale Development is as a residential

subdivision to consist of thirty-seven (37) lots, including (36) single family homes and an

accessory use neighborhood community center.

       8.      Developments such as the Glendale Development are subject to approval by the

Natchitoches Planning and Zoning Commission (the “Commission”) according to the procedures

and requirements set forth in the Subdivision Regulations, codified in Ordinance 1102, Appendix

A of the City’s Code of Ordinances (the “Subdivision Regulations”).

       9.      Consistent with the Subdivision Regulations, Rowanoak Development retained the

services of Randal Smoak, P.E., of Cothren Graff Smoak Engineering, Inc. to prepare the plans

and designs for the Glendale Development. Mr. Smoak is an engineer, licensed in the State of

Louisiana, and approved by the City.

       10.     On or about March 12, 2021, Rowanoak Development submitted a Development

Review Application to the City’s Planning and Zoning Department. Rowanoak Development’s

submission included a conceptual subdivision plat for the Glendale Development (hereinafter, the

“Conceptual Plat”).




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       11.     The Conceptual Plat was submitted in substantial compliance with the City’s

Subdivision Regulations and was consistent with the R-1 zoning classification of the Property. No

waiver, variance, or re-zoning was necessary, nor sought by Rowanoak Development.

       12.     On April 6, 2021, the Commission held a public hearing to consider the Conceptual

Plat. At that meeting, Rowanoak Development, through engineer Randal Smoak, informed the

Commission that the lot sizes in future versions of plats for the Glendale Development would be

slightly larger than noted in the Conceptual Plat (even through the lot sizes as then-shown in the

Conceptual Plat already complied with the City’s Subdivision Regulations). In response, the

Commission Chairman, Charles Whitehead, III (“Commission Chairman Whitehead”), stated that

the Conceptual Plat was already compliant with the City’s Subdivision Regulations and that future

plats showing larger lot sizes would be even more compliant with the City’s Subdivision

Regulations.

       13.     Following submission of the Conceptual Plat, Rowanoak Development additionally

conferred with Commission Chairman Whitehead, City Planning and Zoning Department Director

Shontrell Roque (“Department Director Roque”), as well as other City agencies—both in public

hearings and otherwise—several times through the Spring of 2021. Rowanoak Development

worked in good faith to accommodate suggestions made by the City planning agencies in

connection with the Glendale Development. In the spirit of cooperation, Rowanoak Development

made concessions on several aspects of the Glendale Development designs, including on items

that are not required under the City’s Subdivision Regulations.

       14.     The Conceptual Plat and other designs for the Glendale Development were

reconfigured to include the larger lot dimensions. Subsequently, Rowanoak Development

submitted the Conceptual Plat to, and received approval from, the City’s Water, Sewer, Fire, Public



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Works, and Electrical Departments. Rowanoak Development’s drainage calculations were

reviewed and approved by the City’s Engineer. Rowanoak Development’s drainage plan was

approved by Natchitoches Parish and the Natchitoches Levee Board.

       15.     On July 14, 2021, Rowanoak Development submitted a revised Development

Review Application to the City’s Planning and Zoning Department. Rowanoak Development’s

submission included a preliminary subdivision site plan (the “Preliminary Plat”). The Preliminary

Plat was the same plan that had been previously approved by all relevant City department heads,

Commission Chairman Whitehead and Department Director Roque. Rowanoak Development’s

July 14, 2021 submission also included a proposed drainage map, stormwater detention calculation

sheet, and storm water drainage calculation—all of which met or exceeded the City’s Subdivision

Regulations’ requirements.

       16.     Pursuant to Section X(3) of the Subdivision Regulations, the Commission is

administratively charged to confirm the Preliminary Plat for compliance with the geometric

standards (in Section IV of the Subdivision Regulations) and preliminary plat requirements (in

Section XI of the Subdivision Regulations). Once approved, the Commission is administratively

charged to grant preliminary approval of the subdivision plat.

       17.     On August 10, 2021, Rowanoak Development appeared before the Commission at

a specially-called public hearing. At that time, it was unclear whether Rowanoak Development

was before the Commission for “preliminary” or “final” approval of its plats for the Glendale

Development. This confusion was caused by inconsistent statements made by the Commission and

Department. Further, the lack of clarity also was exacerbated by the Commission because of the

Commission’s deviations from the Procedures set forth in the Subdivision Regulations.




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       18.    The official agenda for the Commission’s August 10, 2021 hearing states that the

Commission was to take up Rowanoak Development’s “Application” to subdivide the property to

develop the Glendale Development.

       19.    During the August 10, 2021 public hearing, Department Director Roque stated on

the record that “everything that has been presented [by Rowanoak Development] is in compliance

with the Subdivision [] Regulations of the City of Natchitoches.” Representative(s) of the

Commission and/or Planning and Zoning Department further confirmed that Rowanoak

Development’s Preliminary Plat and associated submissions were in compliance with the

geometric standards (in Section IV of the Subdivision Regulations) and preliminary plat

requirements (in Section XI of the Subdivision Regulations).

       20.    Nevertheless, and despite the fact that Rowanoak Development’s Preliminary Plat

met or exceeded all requirements of the City’s Subdivision Regulations and all other applicable

laws and ordinances, the Commission voted to deny Rowanoak Development’s “Application” to

subdivide the Property.

       21.    Upon information and belief, the Commission denied Rowanoak Development’s

“Application” because of the opposition voiced by local landowners who want the Property to

remain undeveloped and/or based on unsubstantiated “concerns” that are not supported by data

and which are, in any event, not proper grounds for denial of preliminary plat approval under the

City’s Subdivision Regulations.

       22.    Rowanoak Development timely appealed the Commission’s denial to the

Natchitoches City Council on August 16, 2021.

       23.    On September 13, 2021, the Natchitoches City Council denied Rowanoak

Development’s appeal by a vote of 3-2, thereby affirming the Commission’s decision.



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       24.      The denial of Rowanoak Development’s proposed development of the Property, a

use by right under the City’s zoning ordinances, indicates the City’s intent to illegally impede the

Rowanoak Development’s right to use of the land for legitimate purposes, which is specifically

authorized under the City’s zoning ordinances and Subdivision Regulations.

       25.      Petitioner has properly completed the process for obtaining approval of its

Preliminary Plat under the City’s Subdivision Regulations.

       26.      Though it remains unclear precisely what the Commission voted on during its

August 10, 2021 meeting, the effect of its “no” vote was to deny or, at the very least, withhold

approval of Petitioner’s Preliminary Plat.

       27.      To date, the Commission has not formally approved Petitioner’s Preliminary Plat,

nor has the Commission returned to Petitioner an approved copy of the Preliminary Plat.

                           COUNT I: INVERSE CONDEMNATION

       28.      The City is a “person” for purposes of 42 U.S.C. 1983.

       29.      The provisions of the Fifth Amendment of the United States Constitution, made

applicable to the states via the Fourteenth Amendment of the United States Constitution, protects

landowners from the “taking” of property without “just compensation.” See generally Lucas v.

South Carolina Coastal Council, 505 U.S. 1003 (1992).

       30.      The City’s rejection of the Preliminary Plat constitutes a justiciable final decision

with respect to Rowanoak Development because Rowanoak Development has experienced

irreversible and substantial economic harm and a measurable interference with investment-backed

expectations.




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       31.      The City’s rejection was based on their bowing to the desire of the neighboring

public, as urged by the neighboring landowners, without payment to Rowanoak Development of

adequate compensation.

       32.      The City’s denial of the Preliminary Plat has had a significant economic impact on

Rowanoak Development and extensively interfered with Rowanoak Development’s distinct

investment-backed expectations with respect to the Property, constituting an unconstitutional

taking under the Fifth Amendment of the United States Constitution.

       33.      The City is liable to Rowanoak Development for an amount of money sufficient

to compensate Rowanoak Development for:

       A. The loss of value of the Property as a result of the failure to grant Preliminary

             Plat approval;

       B. Lost profits as a result of the failure to grant Preliminary Plat approval; and

       C. The cost of all plans, drainage and engineering studies and legal fees incurred

             by the Rowanoak Development in their plans to develop the Property but

             rendered useless by the failure of the Commission to issue Preliminary Plat

             approval together with all other damage to be proven at the trial on the merits.

                          COUNT 2: SUBSTANTIVE DUE PROCESS

       34.      Pursuant to the Subdivision Regulations, the City had no discretion in deciding

whether to grant approval of the Preliminary Plat. The Subdivision Regulations are mandatory

and clearly provide that the Commission “will” grant approval of preliminary plats that comply

with the ordinance.

       35.      The City’s denial of the Preliminary Plat exceeds the scope of its decision-making

capacity and violates Rowanoak Development’s right to substantive due process under the Fifth



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and Fourteenth Amendment of the United States Constitution for the following reasons. See

generally Stop the Beach Renourishment, Inc. v. Florida Dept of Environmental Protection, 2010

WL 2400086 (U.S. 2010).

       36.      Rowanoak Development has a vested interest and a protected property right in the

beneficial economic use of the Property.

       37.      The City’s reasons for denying the Glendale Development were arbitrary and

capricious and an unreasonable exercise of their police power and therefore invalid.

       38.      The City’s rejection of the Preliminary Plat on grounds of public outcry was outside

their scope of authority under the Subdivision Regulations and Louisiana Revised Statute 33:101

et seq., and therefore constituted arbitrary and capricious behavior resulting in a “taking” of

Rowanoak Development’s property without due process of law.

       39.      The City’s rejection of the Preliminary Plat bears no relationship to any legitimate

governmental purpose.

       40.      As a result of City’s arbitrary and capricious exercise of their police powers,

Rowanoak Development’s practical economic uses of the Property have been eliminated.

Furthermore, the City’s actions have substantially interfered with Plaintiff’s investment-backed

expectations.

       41.      Accordingly, the City is liable to Rowanoak Development for an amount of money

sufficient to compensation Rowanoak Development for:

       A. The loss of value of the Property as a result of the failure to grant Preliminary

             Plat approval;

       B. Lost profits as a result of the failure to grant Preliminary Plat approval; and




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       C. The cost of all plans, drainage and engineering studies and legal fees incurred

             by Rowanoak Development in their plan to develop the Property but rendered

             useless by the failure of the Planning Commission to issue Preliminary Plat

             approval together with all other damages to be proven at trial on the merits.

                          COUNT 3: PROCEDURAL DUE PROCESS

       42.      The City is a “person” pursuant to 42 U.S.C. 1983.

       43.      Rowanoak Development has a vested interest and a protected property right in the

beneficial economic use of the Property.

       44.      The City’s denial of the Preliminary Plat implicates protected property interests and

therefore triggers procedural due process protections provided under the Fifth and Fourteenth

Amendments of the United States Constitution.

       45.      Rowanoak Development has been denied procedural due process because the

procedure for approving Preliminary Plats was not properly followed in this case. The Preliminary

Plat met all requirements of the Subdivision Regulations and no waivers were requested, yet it was

rejected for reasons outside the proper and legally authorized procedural framework and for

reasons other than those permitted under the promulgated statutes, ordinances, and the state and

federal constitution.

       46.      Rowanoak Development is entitled to have the Preliminary Plat approved since it

meets or exceeds all requirements of the Subdivision Regulations. The City denied the Preliminary

Plat for improper reasons and without any finding that the Preliminary Plat violated, was

inconsistent with, or contrary to the purposes and provisions of the Subdivision Regulations. Thus,

Rowanoak Development has been denied a fair hearing by an unbiased and impartial public body.

Rowanoak Development is entitled to have the Preliminary Plat considered by a public body that


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 will apply the objective criterion and standards for subdivision approval according to the stated

 purposes and provisions of the Subdivision Regulations and in accordance with the criterion set

 forth for the development of property in this area.

         47.    The City’s rejection of the proposed Preliminary Plat – despite the fact that is

 complies with every ordinance applicable thereto – evidences the Planning Commission’s intent

 to act contrary to federal and state law by rejecting the plan based on reasons other than those

 deemed legitimate under the law.

         48.    Rowanoak Development was denied a fair and unbiased tribunal in which to present

 its Preliminary Plat for the Glendale Development in violation of Rowanoak Development’s

 constitutional due process guarantees.

                                    REQUEST FOR RELIEF

         WHEREFORE, Rowanoak Development respectfully requests that, after due proceedings

 are had, this Court:

         1.     Render Judgment in favor of Rowanoak Development and against the City,

 awarding Rowanoak Development all damages to which it is entitled, including attorneys’ fees

 pursuant to 42 U.S.C. § 1988, costs, and interest on all amounts awarded at the maximum allowable

 rate;

         2.     Award to Rowanoak Development all other necessary and appropriate relief

 warranted under the circumstances.




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                                    Respectfully submitted,


                                    WIENER, WEISS & MADISON APC
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